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                          IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF PENNSYLVANIA
                                  PITTSBURGH DIVISION

AMY BUMBARGER,                                       )
                                                     )
                     Plaintiff,                      )
                                                     )
                                                         CASE NO. 2:15-cv-00993-TFM
v.                                                   )
                                                     )
COMENITY BANK,                                       )
                                                     )
                     Defendant.                      )


                             STIPULATION AND AGREED ORDER

          This matter comes before the Court pursuant to an agreement by the parties. Plaintiff

Amy Bumbarger (“Plaintiff”) and Defendant Comenity Bank (“Comenity”), by and through their

undersigned counsel, have agreed to enter into binding arbitration of Plaintiff’s claims against

Comenity. The parties request this Court grant the Motion to Compel Arbitration and to Dismiss

Plaintiff’s Claims for the reasons set forth in Comenity’s motion (ECF No. 14).

          Upon review of the docket and other good cause shown, the Court finds the parties’

request to be appropriate and well-taken. Therefore, this Court ORDERS that:

          The Motion to Compel Arbitration and to Dismiss Plaintiff’s Claims is GRANTED.

Plaintiff Amy Bumbarger and Comenity are ORDERED to submit their dispute to arbitration

pursuant to the parties’ written agreement to arbitrate. Plaintiff’s claims against Comenity are

hereby DISMISSED without prejudice to her ability to pursue her claims in arbitration.

          IT IS SO ORDERED this 12th day of November, 2015.



                                                    ___s/ Terrence F. McVerry_____________
                                                    HON. TERRENCE F. MCVERRY




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APPROVED:

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